Case 0:13-cv-62770-KAM Document 28 Entered on FLSD Docket 02/23/2016 Page 1 of 18
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                                                                        SOUTH ERN DINTRIG Of FLORIDA                                   ETEVEN M LARIK RE
                                                                                                                                        CGRKU à nlsT cT.
                                                                                                                                         s.D.ol/tA -M* l
              STEVEN M.LARIM ORE                                                                                   Appeals Sectiop
              Clerk ofCourt


       Date:          2/23/2016
                                                    r- Pm?J4
       Clerk,United States




       IN RE.
            :          DistrictCourtNo: 13-62770-CV                                KAM
                        U.S.C.A No:                       15-06418-
                       Style: GREOGRY W ELCH V.UNITED STATES OF AMERICA

       CERTIFICATE OF READINESS AND TRANSM ITTAL OF RECORD ON APPEAL
       Pursuantto Fed.R,App-P. 11(c),theClerkoftheDistrictCeurtfortheSoùthernDistrictofFlorida
       herebr certifiesthat.asshown on theencltued index,the record iscompleteforpurposesofthis
      appeal.Therecord(includingthetranscriptorpartsthereardesignatedforinelusionand aII
      nccessaryexhibita)cansistsof;
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                305-523-50:0                                          954-:69-5413                          561-803-340*
Case 0:13-cv-62770-KAM Document 28 Entered on FLSD Docket 02/23/2016 Page 2 of 18




      U .S .D .C .C A S E # 13-:2779-CV

      U .S .C .A .C A S E # 15-06418-


      This Record on A ppealalso contains a
      sealed Pre-sentence R epoœ ps lforthe
      follow ing defendantls):

      G R EG O RY W ELC H
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Case 0:13-cv-62770-KAM Document 28 Entered on FLSD Docket 02/23/2016 Page 3 of 18


                       Suprem e Courtofthe U nited States
                               Ofnce ofthe Clerk
                            W ashington,D C 20543* 001
                                                               SeottS.Han'la
                                                               ClerkoftheCm rt
                                       February 8, 2016        (2q2)479-3011


 Clerk
 United States CourtofAppealaforthe Bleventh
 Circuit
 56 Forsyth Street,N .W .
 Atlanta,GA 80303

 Re: N o.15-6418 Gregory W eleh v.U nited States
      (YourNo.14-15733)
 Dear Clerk:

       Pursuantto Rule 12,7 ofthe Rulesofthe Suprem e Courtofthe U nited States,you are
 requestedtocertify and transmitimmediatelytheentire record (includingtranscripts)in the
 abcvecase to thisoo ce. Please indicatein this transm ittalallexhibits,lodgings,and briefs
 thathava been fzled.You m ust also transm lt a num bered list speciûcally identifying
 each docum enttranse tted. A11cassettes,disks,tapesand any azticle ofa sim ilar
 m aterik m ustbe sentvia com m ercialcarrier,notvia the U nited Statesm ail.

       Please be certain to include a transm ittalletterzeferencing this Court'sdocketnum ber.
 Iti:criticalthatyou note ifthe record,orany portion ofthe record,hasbeen sealed or
 containscov dentialinfoem ation. Ifthistype ofinform ation is contained in the record,these
 docum entsm ustbe enclosed in a separateenvelopeorbox and m arked accordingly.

       Ifyourcourtis notin possession ofthe lowercourtrecord,please forward a copy ofthi8
 letteran4 a requestforthe lowercourtto transm itit8 record directly to thisoo ce.

       Hard copiesofrecord m aterialsavailable electronically do notneed to be transm itted.
 Instead you should provide this om ce with theweb ado essw here the m aterialsare available,
Case 0:13-cv-62770-KAM Document 28 Entered on FLSD Docket 02/23/2016 Page 4 of 18

       %

       Ifyou have any questionsplease contactme,Yourprompt attention to this m atterw ill
 be greatly appreciated.

       Tfindly acknowledge reeeiptofthisletter.

                                     Sincerely,

                                     Scott S.H arrls,Clerk
                                     by



                                     Kevin C.Brown
                                     AssisfnntClerk
                                     202-479-3013




 cc: CounselofRecord
CM /ECF
Case    -LiveDatabase-flsdDocument 28 Entered on FLSD Docket 02/23/2016 Page
     0:13-cv-62770-KAM                                                    Page
                                                                             5 of
                                                                               1of184


                                                                                    2255,CLOSED

                                      U .S.D istrict Court
                         SouthernDistrictofFlorida (FtLauderdale)
                   C IW L D O CK ET FO R C A SE #:0:13-cv-62770-K AM
                                   lnternalU se O nly


 W elch v.United StatesofAm erica                          DateFiled:12/20/2013
 Assigned to:JudgeKefmeth A.M arra                         Date Terminated:12/09/2014
 Case in other court:U SDC Southern FL, 09-60212-CR-       Jury Demand:None
                     M A RRA                               NatureofSuit:510 Prisoncr:Vacate
                     U SCA ,14-15733-C                     Sentence
 Cause:28:2255 M otion to Vacate Sentence                  Jurisdiction:U .S.Governm ent
                                                           D efendant
 Plaintiff
 G regoorW elch                             represented by G regory W elch
                                                           73675-004
                                                           Colem an M edium
                                                           FederalCorrectionalInstitution
                                                           InmateM ailg arcels
                                                           PostOfficeBox 1032
                                                           Colem an,FL 33521
                                                           PRO SE


 D efendant
 United Statest)fAm erica                   represented by JenniferAndreneK eene
                                                           U nited States Attorney's Oftk e
                                                           500 E BrowardBoulevard
                                                           7th Floor
                                                           FortLauderdale,FL 33301-3002
                                                           954-660-5796
                                                           Fax:356-7336
                                                          Email:Jelmifer.Keene@usdoj.gov
                                                          LEAD xdrro #Nf r
                                                          A TTORNE Y TO BE N O TICED

                                                          N oticing 2255 US A ttorney
                                                          Email:usatls-zzss@usdoj.gov
                                                          TERM INA TED:01/30/2014
                                                          A TID RNE Y TO BE NO TICED

 D ate Filed      #      DocketText
 12/20/2013           1 JudgeAssignm enttoJudgeK enneth A M arra(jc)(Entered:12/20/2013)
                                                           .




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Case    -LiveD atabase-tlsdDocument 28 Entered on FLSD Docket 02/23/2016 Page
     0:13-cv-62770-KAM                                                     Page 2 of
                                                                              6 of 184


  12/20/2013               M OTION (Complaint)toVacateSentence(2255).NOTE:Al1further
                           docketingistobedoneinthecivilcase.(CriminalCase# 09-60212-0R-
                           MARRAI,filedbyGregoryW elch.uc)(Entered:12/20/2013)
  12/20/2013           3 ClerksN oticeofM agistrate Judge Assignm entto M agistrateJudgePatrick
                         A .W hite.Pursuantto Administrative Order2003-19 foraruling on allpre-
                         trial,non-dispositive mattersand foraReportand Recomm endation on any
                         dispositivematters.(jc)(Entcred:12/20/2013)
  01/02/2014           é INITIAL ORDER OF INSTRUCTIONS TO PRO SE LITIGANT Signedby           .

                         M agistrate JudgePatrick A.W hiteon 12/31/2013 (br)(Entered:01/02/2014)
                                                                            .


  01/02/2014           1 ORDER TO SHOW CAUSE thatonorbeforeforty-fvedaysfrom thedate
                           ofthisorder,therespondentshallfilea mem orandum offactand 1aw to
                           show uausewhy thism otion should notbe gzantcd. Signed by M agistrate
                           Judge Patrick A .W hite on 12/31/2013. (br)(Entered:01/02/2014)
 01/30/2014            Jj NoticeofReassignmentofAssistantU.S.Attorneyby JenniferAndrene
                           Keene onbehalfofUnited StatesofAm ericaAttorney Noticing 2255U S
                           Attorney term inated..Attorney JenniferAndreneKeene added to party
                         UnitedStatesofAmericatpty:dft).(Keene,Jennifer)(Entered:01/30/2014)
 02/10/2014            2 RESPONSB TO ORDER TO SHOW CAUSE reJ Orderto Show Cause,by
                                                                             .

                         UnitedStatesofAmerica.(Attachments:#lExhibit1,#;Exhibit2,#. .   à
                         Exhibit3,#!.Exhibit4,#1 Exhibit5,#1Exhibit6,# 1Exhibit7,#j.
                         E                                           .           .

                           xhibit87# q.Exhibi
                                       .    t9,#JQExhibit10,#11Exhibit11,#J7.Exhibit12,#
                                                      -                                  -

                         J-1Exhiblt13,#.1-4Exhibit14)(Keene,Jennifer)(Entered:02/10/2014)
 02/10/2014            8 ANSW ER to;M otion(Complaint)toVacateSentence(2255)byUnited
                                           .

                         StatesofAmerica.(SeeDE !forimage).(ar2)M odifiedtexton 2/11/2014
                                                          -

                         (az2).(Entered:02/11/2014)
 02/11/2014            9 ClerksN otice to Filer Re:.LResponse to Orderto Show Cause.W rong
                         EventSelected;ERROR -TheFilerselected thewrong event. The
                         docum entwasre-docketedby the Clerk, see(DE 84Answerto Complaint.lt
                       isnotnecessarytoretèlethisdocument.(.2)(Entered:02/11/2014)
 03/04/2014        J11 NOTICE ofInquirybyGregory W elch (Copyofdocketsheetsentl'(ar2)
                                                                 .

                       (Entered!03/04/2014)
 03/11/2014        Jt M OTION forExtensionofTimetoFileResponse/Reply asto8Answerto
                   -

                       Complaintby GregoryW elch.(ar2)(Entered:03/11/2014)
 03/12/2014        12 ORDER grantingmovant's11 M otionforExtensionofTimetoFile
                       Response/Reply reJ1.to government'sresponsetothiscoun'sorderto show
                                               -.

                           cause.M ovu tiscautioned,however,thatany new oradditional
                           argum ents/claim s notpreviously m ade m ustrelate back to hisinitially tiled
                           2255 m otion pursuantto D avenportv. United States,217 F.   3d 1341(11Cir.
                           2000).Movant'sreply shallbefilednolaterthanApril10,2014.Nofurther
                           extensionswillbegranted absentashow causehearing. Signed by
                           M agistrateJudgePatrick A.W hite on 3/12/2014. (nn)(Entered:03/12/2014)
 03/19/2014        JJ CERTIFICATE OF SERVICE byUnitedStatesofAmerica(Attachments:#
                       .

                      lExhibitltKeene,Jelmifer)(Entered:03/19/2014)


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Case    -LiveDatabase -ftsdDocument 28 Entered on FLSD Docket 02/23/2016 Page
     0:13-cv-62770-KAM                                                     Page 3of
                                                                              7 of 184


 04/10/2014        1'1 RESPOMSE to8AnswertoComplaintby GregoryW elch (yha)(Entered:
                                                                                 .

                       04/10/2014)
 04/10/2014        1J. RESPONSE/REPLY tol AnswertoM otion (Complaint)toVacateSentence
                   .
   '
                       (2255)hyGregoryW ekh.(ar2)(Entered:04/11/2014)
 08/22/2014        1û NOTICE oflnquirybyGregory W elch.(Docketsheetsent).(ar2)(Entered:
                       08/22/2014)
 09/29/2014        ).J. REPORT AND RECOM MENDATIONSon28USC 2255casere;;M otion
                   .

                        (Complaint)toVacate/setAside/correctSentence(2255)filedbyGregory
                       W elch.Recom m ending thatthis m otion to vacate be denied on the m erits,
                       thatany pending m otionsnototherwiseruled upon bedenied asm oot, thata
                       certificate ofappealability bedenied;and, thecaseclosed.Objectionsto
                       R&R dueby 10/17/2014 Signed by M agistrate Judge Patrick A . W hite on
                      9/29/2014.(tw)(Entered:09/29/2014)
 10/17/2014        JA (
                      OBJ
                       E ECTIONStoU ReportandRccommendatignsbyGregoryW elch (ar2)           .

                        ntered:l0/17/2014)
 12/09/2014        12 FINAL JUDGM ENT ORDER ADOPTING 1   J REPORT AND
                                                                  .

                       RECOM M ENDATION S denying 1petition to vacatepursuantto 2255.
                       Certificate ofAppealability:DENIED.ThiscaseisCLOSED . Signed by
                       JudgeKermethA.M arraon 12/8/2014.(ir)
                       NOTICE:lftherearesealed docum entsin thiscase,they m ay be
                       unsealed after 1 year or as dirtcted by Court O rder,unless they have
                       been designated to beperm anently sealed,SeeLocalRule 5.4and
                       AdministrativeOrder2014-69.(Entered:12/09/2014)
 12/10/2014        20 CaseNo LongerReferred to M agistrateJudgePatrick A . W hite/case Closed
                      by the DistrictJudge.Signedby M agistrateJudgePatrick A . W hite on
                       12/10/2014.(br)(Entercd:12/10/2014)
 12/23/2014        2.
                    1. NoticeofAppealastoJ2 OrderAdoptingReportatldRecommendations,by
                                              -

                       GregoryW elch.FilingFee:(FEE NOT PAID).W ithin fourteen daysofthe
                       tsling date ofa N otice of Appeal,the appetlantm usteom plete the Eleventh
                       CircuitTranscriptOrderForm regardlessofwhethertranscriptsarebeing
                       orderedPursuanttoFRAP 10(b)q.ForinformationgotoourFLSD website
                       undcrTranscriptInformation,(amb)(Entered:12/23/2014)
 12/23/2014            Transmission ofNotice ofAppeal, OrderUnderAppealand DocketSheetto
                       U S CourtofAppealsre11.Notice ofAppeal,Noticehasbeen electronically
                                                  .

                       mailed.(amb)(Entered:12/23/2014)
 12/24/2014        1:
                    .) AcknowledgmentofReoeiptofNOA from USCA rel1Nolice ofAppeal,
                                                                             .
                       filed by G regory W elch.D ate received by U SCA :12/23/2014. U SCA Case
                       Number:14-15733-C.(nmb)(Entercd:12/24/2014)
 01/13/2015        D . TRANSCRIPT INFORM ATION FORM byGregory W elchre21.Noticeof     .

                       Appeal,.NoTranscriptRequcsted.(smb)(Entered:01/13/2015)
 01/13/2015        7.
                   .1. M OTION forLeavetoAppealinformapauperisby GregoryW elch.tsrnbl
                       (Entered:01/13/2015)


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Case    -Live Database -flsdDocument 28 Entered on FLSD Docket 02/23/2016 Page
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  03/23/2015       2J ORDER grantingl!M otion forLeavetoAppzalin forma pauperis Signed
                     .                     .                                            .
                      by Judge Kenneth A.M an.
                                             a on 3/23/2015 (ir)(Entered:03/23/2015)
                                                                .


  06/09/2015       li ORDER ofDISM ISSAL from U SCA Gregory W elch'sm otion fora
                                                            .

                         ceMificate ofappealability isDEN IED becausehe hasfailed to makea
                         substantialshowing ofthedenialofaconstitutionalright. W elch'sm otion for
                         appointm entofeounselisDENIED AS M O OT re1)N oticeofA ppeal,tiled
                                                                          .

                         byGregoryW elch.USCA #14-15733-C tarnbl(Entered:06/09/2015)




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Case     -Live Database -flsdDocument 28 Entered on FLSD Docket 02/23/2016 Page
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                                                                                  of18
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                                                                           2255,APPEAL,lkEF PTRL

                                          U .S.D istrictC ourt
                         SouthernDistrictofFlorida(FtLauderdale)
               CR IM INA L D O C K ET FO R CA SE #:0:09-cr-60212-K AM -1
                                          lnternalU se O nly


 Case thle:U SA v.W elch                                     Date Filed:08/2072009
                                                             D ate Term inated:09/20/2010

 A ssigned to:Judge K erm eth A .M arra
 Referredto:M agistrate JudgeAnn E.
 V itunac
A ppeals courtcase num ber:10-14649-
AA U SCA

 Defendant(1)
 G regory
 TERM  INAWTED:
            elch 09/20/2010                    represented by Gregory W elch
                                                              Colcm an M edilzm
                                                              FederalCorrectionallnstitution
                                                              Inm ate M ailg arcels
                                                              PostOffice Box 1032
                                                              Colem an,FL 33521
                                                              PRO SE

                                                             B renda G reenberg B ryn
                                                             FederalPublicDefender'sOffice
                                                             OneEastBroward Boulevard
                                                             Suite 1100
                                                             FortLauderdale,FL 33301
                                                             954-356-7436
                                                             Fax:954-356-7556
                                                             Email:Brenda Bryn@ fd.org
                                                             LEAD ,drrtM kfr
                                                             AIIOS EY TO BE NOTICED
                                                             Designation:PublicDefender
                                                             Appointment

                                                             Peter V incentB irch
                                                             FederalPublicDefender'sOffice
                                                             45O A ustralian A venue
                                                             Suite 500
                                                             W estPalm Beach,FL 33401
                                                             561-833-6288
                                                             Email:Peter Birch@ fd.org
                                                             LEAD /1TTO-kNEY
                                                             A TTOS E Y TO BE N O TICED


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     0:13-cv-62770-KAM                                                   Page10
                                                                              2 of
                                                                                of 118
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                                                           Designation.
                                                                      .PublicDefender
                                                          Appointm ent

                                                           R obcrtE ,A dler
                                                           FederalPublic Defender'sOffice
                                                           450 A ustralian Avenue
                                                           Suite 50O
                                                           W estPalm Beach,FL 33401-5040
                                                           561-833-6288
                                                           Fax:833-0368
                                                          Email:robertadler@ fd.org
                                                          TERMINATEb :02/24/2010
                                                          A T'
                                                             FtM rf F TO BE N O TICED
                                                          Designation:PublicDefender
                                                          Appointment

 Pendint Counts  -                                         D ispositipn
 CARRYING/USIN G FIREARM S                                 180m onthsBOPPthreeyears
 (1)                                                       supervised release,$100 special
                                                          assessm ent

 H ichestOffenseLevel(Openinz)
 Felony

 Term inated Counts                                       D isposition
                                                                -


 N one

 H izhestO ffenseLevel(Term inated)
             -



 N one

 C om plaints                                             D isposition
 N one


 Plaintiff
 USA                                        represented by Jason Linder
                                                           United StatesAttorney'sOffce
                                                           500 E Broward Boulevard
                                                           7th Floor
                                                           FortLauderdale,FL 33301-3002
                                                           954-660-5789
                                                           Fax:954-356-7336
                                                          Email:jason.linder@usdoj.gov
                                                          fEAD .f'1H ORNEY
                                                          azlH ORNEY TO BE NOTICED



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                                                                                3 of
                                                                                  of 10
                                                                                     18



                                                              Jennifer A ndrene K eene
                                                              United StatesAttorney'sOffice
                                                              500 E Brow ard Boulevazd
                                                              7111Floor
                                                              FortLauderdale,FL 33301-3002
                                                              954-660-5796
                                                              Fax:356-7336
                                                              EmaillJennifer.Keene@ usdoj.gov
                                                              fEAD AH ORNEY
                                                              ,4TTORNEY TO BE NOTICED


                                                              W illiam H ,Beckerleg ,Jr.
                                                              U nited StatesA ttorney'sO ffice
                                                              500 E Brow ard B oulevard
                                                              7th Floor
                                                              FortLauderdale,FL 33301-3002
                                                              954-356-7314X 3614
                                                              Fax:356-7180
                                                              Email:willia .h.beckerleg@ usdoj,gov
                                                              ATTORNEY TO BE NOTICED

 D ate Filed        #        DocketText
 08/20/2009             1 INDICTM ENT astoGregoryW elch (l)countls)1.FORFEITUP.E
                          ATTACHED (dd)(Entered:08/20/2009)
 08/20/2009 k'
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                  Scou14only)***ArrestWarr IssuedbyMagistrateJudgeLuranaS.
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 12/08/2009             :
                        à
                        ..ORDER TransferringtoFugitiveStamsasto Gregory W elch.Signedby
                          JudgeKelmethA.M arraon 12/8/2009.(1k)(Entered:12/08/2009)
 02/23/2010             4 M inuteEntry forproceedingsheld beforeM agistrate JudgcLinneaR.
                             Johnson:InitialAppearance asto Gregory W elch held on 2/23/2010.
                          (Digital10:11:33.)(Tape#LRJ10-6-217.)(sa)(Entered:02/23/2010)
 02/23/2010             1 OrderonInitialAppearance asto Gregory W elch forproceeding held on
                             2/23/2010.AFPD RobertE.Adleradded forthedefendant.Tape#LIU
                             10-6-217,(Digital10:1l:33.),(ArraignmentandDetentionHemingset
                             for3/1/2010 at 10:00 A M in W estPalm Beach D ivision before M agistrate
                          JudgeLilmeaR.Johnson.)Signedby M agistrateJudgeLilmeaR,Jolmson
                          on2/23/2010.(sa)(Entered:02/23/2010)
 02/24/2010             é NoticeofAssignmentofAssistantFederalPublicDefenderastoGregory
                             W elch.Attorney PeterVincentBirch added.Atterney RobertE. Adler
                             terminated.(Birch,Peter)(Entered:02/24/2010)
                        '
 02/24/2010             ! lnvocation ofRighttoSilenceand CounselDe# ndant%Invocation of
                        ..

                             RighttoSilenceand CounselbyGregoryW elch(Birch,Peter)(Entered:
                             02/24/2010)


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Case    -Live Database -flsdDocument 28 Entered on FLSD Docket 02/23/2016 Page
     0:13-cv-62770-KAM                                                     Page12
                                                                                4 of
                                                                                   of 118
                                                                                       0


 02/24/2010                j. DEM AND forDisclosureofExpertW itnessSummariesasto Gregory
                              W elchNoticeofRequestforDisclosureofExpertWitnessSummaries
                              (Birch,Peter)(Entered:02/24/2010)
 03/01/2010                J2 MinuteEntryforproceedingsheldbeforeM agistrateJudgeLinneaR.
                              Johnson:Arraignmentasto GregoryW elch(1)Count1heldon3/1/2010,
                              Detention H earing asto G regory W elch held on 3/1/2010.D efendant
                          ordereddetained.W ritten Ordertofollow.(Digital10:12:30.)(Tape#LRJ
                          10-7-167.)(sa)(Entered:03/01/2010)
 03/01/2010           1J! ORDER RE:SPEEDY TRIAL,PRETRIAL M ATTERSastoGregory
                      .

                          W elch,SignedbyM agistrateJudgeLilmeaR.Johnsonon3/1/2010,(sa)
                          (Entered:03/01/2010)
 03/01/2010           t.,
                      ..t STANDIN G DISCOVERY ORDER asto Gregory W elch,A1lmotions
                              concerning m atters notcovered by tM s orderm ustbe filed w ithin 28 days
                              ofthisorder.Signed by M agistrateJudgeLinnea R.Jolmson on 3/1/2010.
                          (sa)(Entered:03/01/2010)
 03/01/2010           1.2 ARRAIGNV ENT INFORM ATION SHEET,NotGuiltyPleaenteredas
                      .

                          toGregoryW elch (1)Count1.Courtacceptsplea.Arraignmentheldon
                          3/1/2010beforeM agistrateJudgeLinneaR.Jolmson.(sa)(Entered:
                          03/01/2010)
  03/01/2010          D. DETEN TION ORDER asto Gregory W elch,Signed by M agistrateJudge
                      .

                          LirmeaR.Johnsonon3/1/2010.(sa)(Entered:03/01/2010)
  03/01/2010          1.! SCHEDULING ORDER astoCrregoryW eloh:CalendarCallsetfor
                              4/16/2010 09:00 AM in W estPalm Beach D ivision before Judge Kenneth
                              A .M arra.,Jury Trialsetfor4/19/2010 09:00 AM in W estPalm Beach
                              D ivision before JudgeKenneth A.M arra.ORDER REFERRING CASE
                              to M agistrate Judge AM E.V itunac asto Gregory W elch forPretrial.
                            Signedby JudgeKermethA.M arraon 3/1/2010.(ir)(Entered:
                            03/01/2010)
  03/16/2010          11 NOTICE offilingreceiptofcorrespondenceby GregoryW elch(ir)
                            (Entered:03/16/2010)
  03/29/2010          J-ti Defendant'sM OTION to SuppressEvidenceby GregoryW elch.(Birch,
                            Peter)(Entered:03/29/2010)
  03/29/2010          E M OTION fprHearingRequestforHearingby GregoryW elch.Responses
                            dueby4/15/2010(Birch,Peter)(Entered:03/29/2010)
  03/29/2010          11. UnopposedM OTION to Continuc Trialby Gregory W elch.Responses
                            dueby4/15/2010(Birch,Peter)(Entered:03/29/2010)
  04/01/2010          J..f2 ORDER granting1.J1M otionforHearingastoGregoryW elch (1).Signed
                            by JudgeKennethA.M arraon4/1/2010.(ir)(Entered!04/01/2010)
  04/01/2010                SethearingastoOregol'yW elchliDefendr t'sM OTION toSuppress
                               Evidence.M otion Hearing setfor4/22/2010 02:00 PM in W estPalm
                               BeachDivlsionbeforeJudgeKennethA.M arra.(ir)(Entered:
                               04/01/2010)


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                             (dj)(Entered:04/11/2011)
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                             (dj)(Entered:04/11/2011)
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                             (dj)(Entered:04/11/2011)
 04/23/2010                  SYSTEM ENTRY -DocketEnt 24 estrict d/sealed u '                    ernotice.
                             (dj)(Entered:04/11/20l1)             '
 04/26/2010          25 N OTICE RESETTIN G M OTION TO SUPPRESS HEARING asto
                        G regory W elch!M otion H earing resetfor 4/28/20 02:00 PM in W est
                             Palm BeachDivision beforeJudge           h A.       a.(ir)(Entered:
                             04/26/2010)
 04/26/2010                  SYSTEM ENTRY -DocketEnt 26 estr ted s a                  1 rthernotice.
                             (dj)(Entered:04/11/2011)
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                             (dj)(Entered:04/11/2011)
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                             (dj)(Entered:04/11/2011)
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 04/28/2010          lt2 RESPONSE in OppositionbyUSA asto regoryW elchreJi                  -

                         Defendant'sMOTION to SuppressEvi nce(Linder,Jason)(Entered:
                         04/28/2010)
 04/28/2010          7-Q M inuteEntly forproceedingsheld beforeJudge Kenneth A.M arra:
                         M otion Hearing asto GregoryW elch held on 4/28/2010re lzI.Defendant'
                                                                                       -.    s
                             M OTION to SuppressEvidencefiled by Gregory W elch.CourtReporter:
                         StephenFranklin,561-514-3768/Stephen Frartklin@fsd.uscourts.gov
                         (ir)(Entered:04/28/2010)
 05/28/2010          1J- ORDER denying.1
                     .                    ..
                                           1M otiontoSuppressastoGregoryW elch(1),Signed
                         byJudgeKelmethA.Marraon 5/28/2010.(ir)(Entered:05/28/2010)
 06/03/2010          Z1 NOTICE OFHEARING astoGregonrW elch:ChangeofPleaHearing
                             setfor6/18/2010 09:30 AM in W estPalm Beach Division beforeJudge
                          KermethA.M arra,(ir)(Entered:06/03/2010)
 06/18/2010          3..
                     , 1. M inutcEntry forproceedingsheldbeforeJudgeKermethA.Marra:
                             Charlge ofPlea H earing asto G regory W elch held on 6/18/2010 Gregory
                             W elch (l)GuiltyCount1,CourtReporter:StephenFranklin,561-514-
                             3768 /Stephen Frankli
                                           -     n@fsd.uscouhs.gov(ir)(Entered:06/18/2010)
 06/18/2010          J4 VACATED PLEA AGREEM ENTTACTUAL PROFFER STATEMENT
                         -

                        astoGregoryW elch (ir)SeeDE.
                                                   !2 and.
                                                         42M odifiedon9/20/2010(ir).
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                        (Entered:06/18/2010)



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 06/18/2010          2.
                      1 NOTICE/ORDER OF SEN TENCING asto Gregory W elch:Sentencing
                         setfor9/10/2010 03:00 PM in W estPalm Beach DivisionbeforeJudge
                         KennethA.Marra.(ir)(Entered:06/18/2010)
 08/09/2010          36 N O TICE RESETTIN G SEN TEN CIN G asto Czregory W elch:Sentencing
                        resetfor9/17/2010 03:00 PM in W estPalm Beach D ivision before Judge
                          KennethA.M arra.(ir)(Entered:08/09/2010)
 08/20/2010          l'! OBJECTION S TO PRESENTENCE INVESTIGATION REPORT by
                          GregoryW elch(Birch,Peter)(Entered:08/20/2010)
 09/15/2010          )).
                     . 3. SENTENCING M EM ORANDUM byGregoryW elch(Atlachments:#1
                          AppendixltBirch,Peter)(Entered:09/15/2010)
 09/16/2010          )..
                     . 6
                       ?. NOTICE ofFilingbyGregoryW elchre.     :L'èObjectionsto Presentence
                          InvestigationReport(Attachments:#1AttachmentsltBirch,Peter)
                          (Entered:09/16/2010)
 09/16/2010          X SUPPLEMENT to13..      *1ObjectionstoPresentencelnvestigationReport
                          filedby GregoryW clchbyGregoryW elch(Birch,Petcr)M odifledon
                          9/17/2010 (ls).(Entered:09/16/2010)
 09/17/2010          é..
                       t RESPONSE toJ..
                                      '
                                      !ObjectionstoPresentenceInvestigation Reportby
                         USA astoGregoryW elch (Linder,Jason)(Entered:09/17/2010)
 09/17/2010      k'
                  j       W
                          tcel
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                               tonly)*#*procedurallnterval1
                               h(ir)(Entered:09/20/2010)
                                                          72startCountOneastoGregory
 09/17/2010          /..
                       7. M inuteEntryforproceedingsheldbeforeJudgeKenneth A,M arra:
                          Change ofPlea H earing asto G regory W elch held on 9/17/2010 Gregory
                          W elch (1)GuiltyCount1.Priorpleaof6/18/10isVACATED.Court
                          Reporter:Stephen Franklin,561-514-3768 /
                          Stephen- Frnnklin@ fsd.uscouhs.
                                                        gov(ir)(Entered:09/20/2010)
 09/17/2010          J-1 PLEA AGREEM ENT/FACTUAL PROFFER STATEM EN T asto
                         GregoryW elch(ir)(Entered:09/20/2010)
 09/17/2010          g..
                       l M inuteEntryforproceedingsheldbeforeJudgeKennethA.M arra:
                          Sentencing held on 9/17/2010 asto G regory W elch.CourtReporter:
                         StephenFranklin,561-514-3768/Stephen Frarlklin@ flsd.uscourts.gov
                         (ir)(Entered:09/20/2010)
 09/20/2010          é:
                      j- JUDGMENT astoGregoryW elch (1),Countts)1,180monthsBOP,
                          threeyearssupervised release,$100 specialasscssm ent.Signed by Judge
                         KennethA.M arraon 9/20/2010.(ir)(Entered:09/20/2010)
 09/30/2010          é.é NOTICE OF APPEAL by GregoryW elchregJ.Judgment.W ithin
                          fourteen days ofthe filing date ofaN otice ofA ppeal,the appellantm ust
                          com plete the Eltventh CirouitTranscriptOrder Form regardless of
                          whethertranscriptsarebeingordered (PttrsuanttoFRA.
                                                                           P 10(b)j.For
                          information gotoourFLSD websiteunderTranscriptInformation.(Birch,
                          Peter)(Entered:09/30/2010)
 09/30/2010      j
                 k'       (Courtonly)##*proceduralInterval177startastoGregoryWelch(mc)

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                          (Entered:10/01/2010)
 i0/01/2010               Transmission ofNotice ofAppeal,Judgm entand DocketSheetasto
                          Gregory W elch toU S CourtofAppealsrei; Notice ofAppeal-Final
                         Judgment,FilingFee$(NOT REQUIRED-AFPD)(mc)(Entered:
                         10/01/2010)
 10/07/2010          4J. TRANSCRIPT INFORM ATION FORM asto GregoryW elchreJ-i
                          NoticeofAgpeal-FinalJudgment,filedby GregoryW elch.Plea,Change
                          ofPlea,M otlontoSuppressandSentencetranscriptts)ordered.Order
                          placedbyPeterBirch.Emailsentto CourtReporterCoordinator.(Birch,
                          Peter)(Entered:10/07/2010)
 10/12/2010          f!.
                       j. AcknowledgmentofReceiptofNOA from USCA asto Gregory W elchre
                          j'
                           LtiNotice ofAppeal-FinalJudgment,datereceived by U SCA:
                          10/7/2010,USCA CaseNumber:10-14649-A.(cqs)(Entered:
                           10/12/2010)
  10/14/2010          4.
                       @. N oticeofAssignmentofAssistantFederalPublicDefenderasto Gregory
                          W elch.Attorney Brenda G reenberg Bryn added.A ttonw y PeterV incent
                         Birchterminated,(Bryn,Brenda)(Entered:10/14/2010)
  10/21/2010          j.
                       Q COURT REPORTER ACKNOW LEDGMENT astoGregoryW elchre#-(.
                         NoticeofAppeai-FinalJudgment,X TranscriptlnformationForm.
                          CourtReporter:Stephzn Frnnklin,561-514-3768 /
                          Stephen Frarlklin@flsd.uscourts.gov.Estimated filingdateoftranscript
                          11/19/2(
                                 Y10,(mc)(Entered:10/21/2010)
  12/13/2010          J.
                       -t M OTION forForfeittzreofProperty by USA asto Gregory W elch.
                           Responsesdueby 12/30/2010(Attachments:#l'rextofProposedOrder)
                           (Beckerleg,William)(Entered;12/13/2010)
  12/13/2010          J..
                        2. PRELIM INARY ORDER OF FORFEITURE granting.     I1M otionfor
                           ForfeimreofProperty astoGregoryW elch(1).SignedbyJudgeKermeth
                           A.M arraon 12/13/2010.(ir)(Entered:12/13/2010)
  12/14/2010          jJ. TRANSCRIPT ofM otiontoSuppressastoGregory W elch heldon
                           04/2872010beforeJudgeKermethA.Marra,1-119pages,re;#. 1 Noticeof
                           A ppeal-FinalJudgm ent,CourtReporter:Stephen Franklin,561-514-
                           3768 /Stephen- FraA lin@ psd.usooM s. gov.Transcriptmaybeviewedat
                           the courtpublic term inalorpurchased by contacting the Court
                           Reporterx ranscriberbeforethedeadlineforReleaseofTranscript
                           Restriction.Afterthatdateitm ay beobtained through PACER.Redaction
                           Requcstdue 1/7/2011.Redactcd TranscriptDeadline setfor1/18/2011.
                           ReleaseofTranscriptRestrictionsetfor3/17/201l.(sf)(Entered:
                           12/14/2010)
  12/14/2010          j-4. TRANSCIUPT ofChangeofPlea asto Gregory W elch held on
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                      .

                           06/18/2010 beforeJudgeKerm eth A.M arra,1-25pages,re:é. t
                                                                                   iNoticeof
                           Appeal-FinalJudgment,CourtReporter:Stephen Franklin,561-514-
                           3768 /Stephen- Fre lin@ isd. uscoM s.gov.Transcriptmay beviewed at
                           the courtpublicterm inalorpurchasedby contacting theCourt
                           Reporter/Transcriberbeforethe deadline forRelease ofTranscript



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                             Restriction,Afterthatdateitm aybeobtainedthrough PACER,Redaction
                             Requestdue 1/7/2011.Redacted TranscriptD eadline setfor 1/18/2011,
                             ReleaseofTranscriptRestrictionsetfor3/17/2011.(st)(Entered:
                             12/14/2010)
 12/14/2010          j-1. TRAN SCRIPT ofChangeofPleaand Sentencing asto Gregory W elch
                             heldon09/17/2010beforeJudgeKennethA.M arra,1-42pages,re:M .
                             Notice ofAppeal-FinalJudgment,CourtReporter:StephenFranklin,
                             561-514-3768/Stephen Franklin@flsd.uscourts.gov.Transcriptmaybe
                             viewedatthecourtpubl'
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                             Reporter/Transcriberbeforethedeadline forRelease ofTranscript
                             Restriction.Afterthatdate itmay beobtained through PA CER.Redaction
                             Requestdue 1/7/20l1.Redacted TranscriptDeadline setfor1/l8/2011.
                         ReleaseofTranscriptRestriction sctfor3/17/2011.(st)(Entered:
                         12/14/2010)
 12/16/2010          J..
                       û TRANSCRJPT NOTIFICATION astoGregoryW elch-Transcriptts)
                             ordered on:10/7/2010 by Kathleen W illiams,Esq.has/havebeen tsled by
                             CourtReporter:Stephen Franklin,561-514-3768 I
                             Stephen FraA lin@ Psd.uscoM s.
                                     -                      govre.  ,
                                                                    12TranscriptInformationFo= ,.
                             (cqs)(Entered:12/17/2010)
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  01/19/2011          J..
                        3. SERVICE (ProoflbyPublicationbyUSA astoGrego!y W elch Last
                             Publication date 1/13/2011.Claim s/positions/W ritten
                           Defenses/Answers/etc.sdueby2/15/2011.(Beckerleg,W illiam)(Entered:
                           01/19/2011)
  02/17/2011          j..
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                                         i1AcknowledgmentofSerdceon2/10/11byUSA asto
                              G regory W elch 1 Lorcin M odelL 380 Caliber Sem o auto pistolserial
                         #532504and5roundsofW inchester.38oammo(Beckerleg,W illinm)
                         Modifedon2/22/2011(tp).(Entered:02/17/2011)
  02/17/2011          60 ClerksNoticetoFilerreJ.2AcknowledgmentofService.DocumentN0t
                         Related toCase;CORRECTIVE ACTION REQUIRED -Filermustfile
                         aNoticeofStriking,thenreflethcdocumentintlw appropriatecase.(asl)
                         (Entered:02/17/2011)
  02/18/2011          i1 NOTICE ofStrikingDocketEntryJ..@byUSA astoGregory W elch
                      .

                         (Beckerleg,W illiam)M odifiedaddedlinkon2/22/2011(tp).(Entered:
                         02/18/2011)
  02/22/2011          62 ClerksNoticetoFilerrej. lNoticeofStriking.DoeumentNotLinked;
                              ERR OR -The filed docum entw as notlirlked to the related docketentl'y.
                              The correction wasm ade by thc Clerk.ltisnotnecessary to refile this
                               document,(tp)(Enteredt02/22/2011)
  04/11/2011              é.J. CERTIFICATE ofReadinesskansmitted to USCA asto Gregory W elch
                               reM .NoticeofAppeal-FinalJudgment,USCA# 10-14649-AA (cqs)
                               (Entered:04/12/2011)



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 04/11/2011          64 Certifed and Transm itted Record on Appealasto Gregory W elchto US
                         CourtofAppealsconsistingof(l)VolumeofPleadings,(3)Volumesof
                         Transcripts,(1)EnvelopeofSealeddocumentsand(1)PSIReportreii
                         NoticeofAppeal-FinalJudgment,USCA# 10-14659-AA (cqs)(Entered:
                         04/12/2011)
 04/27/2011          iJ. AcknowledgmentofReceiptofCOR/ROA from USCA astoGregonr
                     .
                         W elchrel. j.NoticeofAppeal-FinalJudgment,datereceivedbyUSCA:
                         4/15/2011.USCA CaseNumber:l0-14649-AA.(cqs)(Entered:
                         04/27/2011)
 05/05/2011          f-(
                       i AcknowledgmentofServiceon 5/4/11by USA astoGregoryW elch 1
                         Lorcin M odelL 380-Calibersemiautopistolandammo (Beckerleg,
                         W illiam)(Entered:05/05/2011)
 05/05/201l          éz FinalM OTION forForfeitureofProperty byUSA astoGregoryW elch.
                         Responsesdueby 5/23/2011(Attachments:#l'FextofProposed Order)
                         (Beckerleg,W illiam)(Entered:05/05/2011)
 05/06/201l          éj- FINAL ORDER OFFORFEITURE granting.       i2 M otionforForfeitureof
                         Propertyasto GregoryW elch (1).Signedby JudgeKenneth A.Marraon
                         5/5/201l.(ir)(Enttred:05/06/2011)
  09/07/2012         j..
                       j
                       à M ANDATE ofUSCA (certifiedcopy)AFFIRM Judgment/Orderofthe
                         districtcourtwithcourtsopinion astoGregoryW elchreé.é.Noticeof
                             Appeal-FinalJudgm ent ;D ateIssued:9/7/2012 ;U SCA CmseNumber:
                              10-14649-AA (amb)(Entered:09/07/2012)
  09/26/2012             7.
                         .J) AppealRecordReturnedasto GregoryW elch:Consisting of(1)Volume
                              ofPldgs,(3)VolumesofTranscripts,(1)PSIand(1)Envelopeoontaining
                              sealeddocumentsreM .NoticeofAppeal-FinalJudgmtnt.USCA #10-
                              14649-AA (amb)(Entered:09/27/2012)
  02/05/2013             D - W IUT OF CERTIORARIDENIED by U S Suprem e Courtasto Gregory
                              W elchre#-iNoticeofAppeal-FinalJudgment,USCA # 10-14649-AA
                              (hh)(Entered:02/05/2013)
  12/20/2013             7-7. M otiontoVacateunder28U.S.C.2255byGregoryW elch (civilcase
                              number13-62770-CIV-M ARRA.)Allfurtherdocketingrelatedtothe
                              motiontovacateistobedoneinthecivilcase.(ic)(Entered:12/20/2013)
  12/09/2014             .1J- ORDER denying.   7..
                                                 :).M otionto Vacate(2255)astoGregoryW elch (1).
                              SignedbyJudgeKermeth A.M arraon 12/8/2014,(ir)(Entered:
                               12/09/2014)
  08/28/2015     d       .14. M OTION to Reduce Sentence by Gregory W elch.Responsesdueby
                               9/14/2015.(ir)(Entered:08/28/2015)
  12/15/2015                 A corney update in case as to G regory W elch.Attorney PeterV incent
                             Birch Activated.(Birch,Peter)(Bntered:12/15/2015)
  12/15/2015             D   M OTION forDisclosureM otiontoPermitDisclosureofpresentence
                             lnvestigation Reportby OregoryW elch,Responsesdueby 1/4/2016
                             (Birch,Peter)(Entered:12/15/2015)


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 12/17/2015         X   ORDER granting21.M otionforDisclosureastoGregoryW elch(1),
                        SignedbyJudgeKennethA.M arraon 12/16/2015.(ir)(Enterzd:
                        12/17/2015)
 01/27/2016          2.
                      '
                      î M OTION forDisclosureofthePresentenceInvestigationReportandthe
                         Addendum to thePresentenceInvestigation Reportby USA asto Gregory
                         W elch.AttorneyJenniferAndreneKeeneaddedtopartyUSA(pty:pla).
                         Responsesdueby2/16/2016(Attachments:#l'rextofProposcd Order)
                         (Keene,Jermifer)(Entered:01/27/2016)
 01/28/2016          (?.
                       ,
                       8 ORDER granting7-2.M otionforDisclosure'astoGregoryW elch (1).
                         SignedbyJudgeKermcthA.M arraon 1/27/2016.(ir)(Entered:
                         01/28/2016)




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